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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

In re:

VITAL PHARMACEUTICALS, INC., et al.,1                           Case No.: 22-17842-PDR

                                                                Chapter 11
      Debtors.                                                  (Jointly Administered)
_______________________________________/

VITAL PHARMACEUTICALS, INC., et al.,

         Plaintiffs,

v.                                                              Adv. Proc. No. 23-01051-PDR

JOHN H. OWOC AND MEGAN E. OWOC,

      Defendants.
_______________________________________/

                 APPELLANT, JOHN H. OWOC'S, STATEMENT OF ISSUES
                      ON APPEAL AND DESIGNATION OF ITEMS
                    TO BE INCLUDED IN THE RECORD ON APPEAL

         Defendant/Appellant, John H. Owoc ("Mr. Owoc"), pursuant to Fed. R. Bankr. P. 8009,

respectfully submits his statement of the issues on appeal and its designation of the items to be

included in the record on appeal as follows:

                         STATEMENT OF THE ISSUES ON APPEAL

         1.      Whether the Bankruptcy Court erred in entering its Order Granting Plaintiffs'

Emergency Motion for Contempt (the "Order"). ECF No. 61.



1
         The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the
Debtors' federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy
Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate
Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
(vii) Vital Pharmaceuticals International Sales, Inc. (8019).


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       2.      Whether the Bankruptcy Court erred in overruling the objections of Mr. Owoc to

the entry of the Order.

       3.      Whether the Bankruptcy Court erred in overruling the objections of Mr. Owoc to

the entry of the Order stated on the record during an April 12, 2023 hearing (the "Hearing").

       4.      Whether the Bankruptcy Court erred in overruling the objections of Mr. Owoc to

the entry of the Order set forth in the Supplemental Memorandum of John H. Owoc in

Opposition to Emergency Motion for Contempt. ECF No. 46.

       5.      Whether the Bankruptcy Court erred in finding that John H. Owoc and Megan

Owoc (together, the "Owocs") stipulated to the Order Approving Stipulation Regarding Debtors'

Motion for Temporary Restraining Order (the "TRO"). ECF No. 10.

       6.      Whether the Bankruptcy Court erred in finding the above-captioned plaintiffs,

Vital Pharmaceuticals, Inc. et al. (together, the "Plaintiffs") "employed a strong and consistent

social media presence using" the CEO Accounts (as such term is defined in the Order).

       7.      Whether the Bankruptcy Court erred in considering evidence offered by the

Plaintiffs after the close of evidence at the Hearing.

       8.      Whether the Bankruptcy Court erred in not finding that the testimony of Mr.

Owoc credible.

       9.      Whether the Bankruptcy Court erred in finding that the Order is clear and

unambiguous.

       10.     Whether the Bankruptcy Court erred in finding that the term "post" precludes the

Owocs from publishing anything, including a comment, from the CEO Accounts.




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       11.     Whether the Bankruptcy Court erred in finding that Mr. Owoc violated the TRO,

which precludes the Owocs from "posting any content or making any posts of any kind to or

from the CEO Accounts," by commenting on a post.

       12.     Whether the Bankruptcy Court erred in finding that the testimony of Mr. Owoc

was merely ipse dixit.

       13.     Whether the Bankruptcy Court erred in finding that the interpretation of the TRO

proposed by Mr. Owoc would thwart the purpose of the TRO.

       14.     Whether the Bankruptcy Court erred by holding Mr. Owoc in contempt of Court.

    DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL

Docket Entry               Description
       1         Adversary Complaint
       2         Emergency Motion for Temporary Restraining Order
       9         Stipulation Regarding Debtors' Motion for Temporary Restraining Order
      10         Temporary Restraining Order
      28         Emergency Motion for Contempt of Court
      30         Re-Notice of Hearing on Emergency Motion for Contempt of Court
      31         Joint Notice of Substitution of Attorney
      32         Proposed Exhibits for Owocs
      33         Proposed Exhibits for Plaintiffs
      38         Plaintiffs' Supplemental Memorandum of Law
      40         Response to Summary Judgment Motion
      41         Declaration of John H. Owoc in Support of Response to Summary Judgment
                 Motion
      42         Declaration of Megan Owoc in Support of Response to Summary Judgment
                 Motion
      43         Owocs' Statement of Material Facts
      46         Owocs' Supplemental Memorandum of Law
      47         Transcript of April 12, 2023 Hearing
      52         Answer and Affirmative Defenses
      55         Emergency Motion for Relief from Unauthorized Stipulated TRO
      56         Declaration of John H. Owoc in Support of Emergency Motion for Relief from
                 Unauthorized Stipulated TRO
      57         Declaration of Megan Owoc in Support of Emergency Motion for Relief from
                 Unauthorized Stipulated TRO
      61         Order Granting Emergency Motion for Contempt
      72         Notice of Appeal

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      73         Amended Notice of Appeal
      74         Transmittal to District Court
      80         Order Holding Defendant, John H. Owoc, in Contempt of Court
      81         Order Denying Motion for Relief from Unauthorized Stipulation

                 Plaintiffs' exhibits admitted April 12, 2023 evidentiary hearing
                 Owocs' exhibits admitted April 12, 2023 evidentiary hearing
                 Court Docket, Adversary Proceeding No. 23-01051-PDR, attached hereto as
                 Exhibit "A"
                 Transcripts ordered and/or statements made in accordance with Fed. R. Bankr.
                 P. 8009(b)


                               ATTORNEY CERTIFICATION

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served by

Notice of Electronic Filing via CM/ECF to those parties registered to receive such notice in this

case on May 23, 2022.

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                                             By:     /s/ Patrick Dorsey
                                                     Bradley Shraiberg
                                                     Fla Bar No. 121622
                                                     Patrick Dorsey
                                                     Fla. Bar No. 0085841




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                    EXHIBIT A
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